Case: 3:22-cv-00828-DAC Doc #: 1-1 Filed: 05/19/22 1 of 3. PagelD #: 8

JS 44 (Rev. 3/22)

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

purpose of initiating the civil docket sheet.

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS
Wettle, Brent A. & Wettle, Heather M.

(b) County of Residence of First Listed Plaintiff Lucas

DEFENDANTS

United States of America, United States Postal Service,
McDonald, Lindsey E.

County of Residence of First Listed Defendant Lucas

(EXCEPT IN U.S. PLAINTIFF’ CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)

See attachment

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

NOTE:

Attorneys (if Known)

II. BASIS OF JURISDICTION (Place an “X" in One Box Only) III. CITIZENSHIP OF PRINCIPAL PARTIES {Place an "X" in One Box for Plaintiff

(For Diversity Cases Only)

and One Box for Defendant)

[]1 US. Government [_]3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Nat a Party) Citizen of This State CT] 1 CT | Incorporated or Principal Place oO 4 Os
of Business In This State
{x]2 U.S. Government C]4 Diversity Citizen of Another State C 2 C 2 Incorporated and Principal Place (] 5 Cs
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of'a C a O 3 Foreign Nation L] 6 Os
Foreign Country
IV. NATURE OF SUIT (piace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
| CONTRACT. TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
110 Insurance PERSONAL INJURY PERSONAL INJURY T1625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine -| 310 Airplane C 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability |_]690 Other 28 USC 157 372%a))
140 Negotiable Instrument Liability C 367 Health Care/ |] 400 State Reapportionment
150 Recovery of Overpayment [_] 320 Assault, Libel & Pharmaceutical INTELLECTUAL 410 Antitrust
& Enforcement of Judgment Slander Personal Injury |__ PROPERTY RIGHTS _J7|_ 430 Banks and Banking
b 151 Medicare Act | 330 Federal Employers’ Product Liability A $20 Copyrights 450 Commerce
152 Recovery of Defaulted Liability C 368 Asbestos Personal 830 Patent 460 Deportation
Student Loans 340 Marine Injury Product 835 Patent Abbreviated 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability New Drug Application Corrupt Organizations
([J 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR ] 840 Trademark [_] 480 Consumer Credit
of Veteran's Benefits x] 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards [] 880 Defend Trade Secrets (15 USC 1681 or 1692)
O 160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending Act Act of 2016 | 485 Telephone Consumer
[] 190 Other Contract Product Liability [_] 380 Other Personal | ]720 Labor/Management SOCIAL SECURITY. Protection Act
195 Contract Product Liability 360 Other Personal Property Damage Relations 861 HIA (1395) 490 Cable/Sat TV
196 Franchise Injury oO 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) -! 850 Securities/Commodities/
|] 362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) Exchange

Medical Malpractice

864 SSID Title XVI
865 RSI (405(g))

Leave Act
790 Other Labor Litigation

|] 890 Other Statutory Actions
891 Agricultural Acts

REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS
210 Land Condemnation 440 Other Civil Rights Habeas Corpus:
220 Foreclosure 441 Voting

- 463 Alien Detainee

230 Rent Lease & Ejectment 510 Mations to Vacate

442 Employment

240 Torts to Land 443 Housing/ Sentence
245 Tort Product Liability Accommodations 530 General
[} 290 All Other Real Property 445 Amer, w/Disabilities - - 535 Death Penalty
Employment Other:
446 Amer. w/Disabilities -[]_| 540 Mandamus & Other

Other

H 448 Education

550 Civil Rights

555 Prison Condition

560 Civil Detainee -
Conditions of
Confinement

893 Environmental Matters

895 Freedom of Information
Act

896 Arbitration

899 Administrative Procedure
Act/Review or Appeal of

| _]791 Employee Retirement
Income Security Act

FEDERAL TAX SUITS
|] 870 Taxes (U.S, Plaintiff
or Defendant)

[_] 871 IRS—Third Party

26 USC 7609

IMMIGRATION

Agency Decision
|_] 950 Constitutionality of
State Statutes

462 Naturalization Application
465 Other Immigration
Actions

V. ORIGIN (Place an “X” in One Box Only)

E] | Original 2 Removed from 3 Remanded from oO 4 Reinstated or oO 5 Transferred from 6 Multidistrict Oo 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

Federal Tort Claims Act

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

VI. CAUSE OF ACTION

Brief description of cause:

A United States Postal Service vehicle collided with plaintiff Brent A. Wettle's vehicle.

VII. REQUESTED IN (J CHECK IF THIS IS A CLASS ACTION DEMAND § CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. $7762.95 JURY DEMAND: [elves [JNo
VIII. RELATED CASE(S)
(See instructions):
IF ANY JUDGE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
05/19/2022 i \ HH AGU, 0s "hz. 4A 4 Mie ira
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG, JUDGE

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Spitler & Williams-Young, Co., L.P.A.
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Toledo, Ohio 43604

Marc G. Williams-Young, Esq.
Sabrina R. Widman, Esq.

Phone: 419-242-1555
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO

lL. Civil Categories: (Please check one category only_).
1. |v General Civil
2. Administrative Review/Social Security
3. Habeas Corpus Death Penalty

*If under Title 28, §2255, name the SENTENCING JUDGE:

CASENUMBER:

Il. | RELATED OR REFILED CASES See LR 3.1 which provides in pertinent part: “If an action is filed or removed to this Court
and assigned to a District Judge after which it is discontinued, dismissed or remanded to a State court, and
subsequently refiled, it shall be assigned to the same Judge who received the initial case assignment without regardfor
the place of holding court in which the case was refiled. Counsel or a party without counsel shall be responsible for
bringing such cases to the attention of the Court by responding to the questions included on the Civil Cover Sheet."

This action: is RELATED to another PENDING civil case [is a REFILED case was PREVIOUSLY REMANDED

If applicable, please indicate on page 1 in section VIII, the name of the Judge and case number,

Hl. In accordance with Local Civil Rule 3.8, actions involving counties in the Eastern Division shall be filed at any of the
divisional offices therein. Actions involving counties in the Western Division shall be filed at the Toledo office. For the
purpose of determining the proper division, and for statistical reasons, the following information is requested.

ANSWER ONE PARAGRAPH ONLY. ANSWER PARAGRAPHS 1 THRU 3 IN ORDER. UPON FINDING WHICH
PARAGRAPH APPLIES TO YOUR CASE, ANSWER IT AND STOP.

(1) Resident defendant If the defendant resides in a county within this district, please set forth the name of such

COULTY: Defendant McDonald resides in Lucas County, Ohio.

Corporation For the purpose of answering the above, a corporation is deemed to be a resident of that county in
which it has its principal place of business in that district.

(2) Non-Resident defendant. If no defendant is a resident of a county in this district, please set forth the county
wherein the cause of action arose or the event complained of occurred.

GOUNTY:| cas County

(3) Other Cases. If no defendant is a resident of this district, or if the defendant is a corporation not having a principle
place of business within the district, and the cause of action arose or the event complained of occurred outside
this district, please set forth the county of the plaintiffs residence.

COUNTY

IV. The Counties in the Northern District of Ohio are divided into divisions as shown below. After the county is
determined in Section Ill, please check the appropriate division.

EASTERN DIVISION
AKRON eotntiogs Carroll, Holmes, Portage, Stark, Summit, Tuscarawas and Wayne)
Counties: Ashland, Ashtabula, Crawford, Cuyahoga, Geauga,
CLEVELAND Lake, Lorain, Medina and Richland)
YOUNGSTOWN (Counties: Columbiana, Mahoning and Trumbull)
WESTERN DIVISION
Y TOLEDO (Counties: Alten, Auglaize, Defiance, Erie, Fulton, Hancock, Hardin, Henry,
Huron, Lucas, Marion, Mercer, Ottawa, Paulding, Putnam, Sandusky, Seneca

VanWert, Williams, Wood and Wyandot)
